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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DAVID MUNIZ,

                     Plaintiff,

v.                                                               No. CV 21-301 CG

KILOLO KIJAKAZI,1
Commissioner of the
Social Security Administration,

                     Defendant.

                      ORDER EXTENDING BRIEFING SCHEDULE

       THIS MATTER is before the Court on Plaintiff’s Unopposed Motion to Extend

Briefing Deadlines (the “Motion”), (Doc. 17), filed October 12, 2021. In the Motion,

Plaintiff requests a 30-day extension of time to file his motion to reverse and remand the

administrative agency decision, as well as the Commissioner’s time to respond and

Plaintiff’s time to reply. Id. at 1. The Court, having reviewed the Motion and noting it is

unopposed, finds the Motion is well-taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that Plaintiff shall have until November 10, 2021,

to file his motion to reverse and remand. The Commissioner shall until January 10,

2022, to file a response. Plaintiff shall have until January 24, 2022, to file a reply.

       IT IS SO ORDERED.



                                    _________________________________
                                    THE HONORABLE CARMEN E. GARZA
                                    CHIEF UNITED STATES MAGISTRATE JUDGE



1
 Kilolo Kijakazi was appointed Acting Commissioner of the Social Security Administration on
July 9, 2021.
